




NO. 07-07-0500-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



JULY 7, 2008



______________________________





MILES B. HORTON, 



Appellant



v.



THE STATE OF TEXAS, 



Appellee





_________________________________



FROM THE COUNTY COURT AT LAW NO. 2 OF LUBBOCK COUNTY;



NO. 2007-443,823; HON. DRUE FARMER, PRESIDING



_______________________________



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

Appellant, by and through his attorney, has filed a motion to dismiss. &nbsp;Without passing on the merits of the case, we grant the motion pursuant to Texas Rule of Appellate Procedure 42.1(a)(1)(2) and dismiss the appeal. &nbsp;Having dismissed the appeal at appellant’s request, no motion for rehearing will be entertained, and our mandate will issue forthwith.



Brian Quinn

Do not publish.				 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice


